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16
17                       IN THE UNITED STATES DISTRICT COURT

18                            FOR THE DISTRICT OF ARIZONA

19
     United States of America,                          No. CR-18-422-PHX-SMB
20
                          Plaintiff,
21                                                   NOTICE RE FILING MATTHEW
              v.                                      FROST’S DECLARATION RE
22                                                    EVIDENTIARY HEARING ON
                                                      DEFENDANTS’ MOTION TO
23   Michael Lacey, et al.,                          COMPEL DISCOVERY (Doc. 643)

24                        Defendants.

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 1           The government provides notice that it has lodged a Declaration of Matthew Frost
 2   for the Court’s consideration in evaluating Defendants’ motion to compel discovery. (Doc.
 3   643.)
 4           Respectfully submitted this 27th day of November, 2019.
 5                                              MICHAEL BAILEY
                                                United States Attorney
 6                                              District of Arizona
 7                                              s/ Andrew C. Stone
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18                                CERTIFICATE OF SERVICE
19
             I hereby certify that on November 27, 2019, I electronically transmitted the attached
20
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
21
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
22
     as counsel of record.
23
24   s/ Angela Schuetta
     Angela Schuetta
25   U.S. Attorney’s Office
26
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